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IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MA_RYLAND

DENISE PAJOTTE *
Plaintiff ` *
v. * CASE NO.:CAL16-40434

THE ESTATE OF TYSON PAJOTTE, et al *

Defendants *

MEMOMORANDUM IN SUPPORT OF
DEFENDANTS’ MOTION TO STRIKE JURY DEMAND

The Defendants, Estate of Tyson Pajotte and Lynette Pajotte, by and through their
attomeys, Samantha Granderson and Bacon, Thornton, & Palmer, L.L.P., in support for its Motion

to Strike J_ury Dernand Hled herein, states as follows:

l. E UITABLE CLAIMS

This case comes before this Court as a declaratory judgment action in which the Plaintiff
requested the Court to determine and adjudicate the rights of the parties with respect to the
allocation of a life insurance policy proceeds, in which Plaintiff, Denise Pajotte was the named
beneficiary PlaintiH’s rights as beneficiary are at issue in this matter based upon a Property
Settlement Agreement entered into by the PlaintiH` and the deceased Defendant, Tyson Pajotte
which was incorporated into the parties’ final judgment of divorce. There are no disputed facts in
this case and the only questions before the Court involve are equitable in nature and requires an
interpretation of the terms of Property Settlement Agreement, as it relates to the parties’ rights to
receive the proceeds of the life insurance policy and the duties required by the parties of said

agreement

 

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Plaintiff has also asked this Court to determine the validity of the marriage between the
Defendant, Lynette Pajotte and the deceased 'l`yson Paj otte. This action is also equitable in nature
and Pursuant to Md. Code Ann., Fam. Law § l-201(a)(3) the equity court has jurisdiction over this
matter.

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Plaintiff has waived her right to a jury trial by failing to make demand in a timely
manner pursuant to Md. Rule 2-353(b). Plaintiff filed her initial complaint in this case on
November 9, 2016, which was served on the Defendant on November 28, 2017. Plaintiff
Subsequently filed a Jury Demand on or about December 20"‘, 2016, over 15 days after initial
complaint had been served. In the Defendants’ answer, filed on or about December 22, 2016,
the Defendants asked the Court to deny Plaintift`s jury demand. Plaintiff then filed an
Amended Complaint on or about January lO, 2017 and has failed to demand ajury trial on
separate paper or within the amended complaint The Defendants filed their answer to the
amended complaint on or about February 24, 2017. There has been no jury demand made
subsequent to the filing of Defendant’s Answer.

Maryland Rule 2»-325 regulates guaranteed jury right and provides in part that any party
may elect a trial by jury of any issue triable of right by a jury by filing a demand therefore in
writing either as a separate paper or separately titled at the conclusion of a pleading and
immediately preceding any required certificate of service. Although Plaintiff did file a Jury
Demand on December 20, 2017, Plaintiff effectively waived her right to a jury trial by allowing
more than 15 days to pass before filing the jury demand Defendant further argues that after
amending her Complaint, Plaintiff failed to revive her jury demand by failing to make a formal

request within the amended complaint or by a separately titled pleading The failure of a party

 

 

m to file the demand within 15 days after service of the last pleading filed by any party directed to

the issue constitutes a waiver of trial by jury. Therefore, Plaintiff has waived her right to a

jury triai.'

III. CONCLUSION
i~`or the foregoing reasons, the Defendants request that this Court strike’s Plaintift’s Jury

Demand in the above captioned action.

Respectfully submitted,

BACON TiioRNroN & PALMER, L.L.P

  

 

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